Case 0:21-cv-61428-RKA Document 5 Entered on FLSD Docket 07/19/2021 Page 1 of 3




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION

                                 CASE NO.: 0:21-cv-61428

  VIRGINIA AYALA,

                Plaintiff,

  v.

  HEALTHCARE REVENUE RECOVERY
  GROUP, LLC,

           Defendant.
  _____________________________________/

         DEFENDANT, HEALTHCARE REVENUE RECOVERY GROUP, LLC,’S
       CERTIFICATE OF INTERESTED PERSONS AND CORPORATE DISCLOSURE
                               STATEMENT

         COMES NOW, the Defendant, Healthcare Revenue Recovery Group, LLC, (“HRRG”), by

 and through its undersigned counsel, and files this Certificate of Interested Persons and Corporate

 Disclosure Statement pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, and herein

 states as follows:

         I hereby disclose the following pursuant to this Court’s interested persons order:

         1.        The name of each person, attorney, association of persons, firm, law firm,

 partnership, and corporation that has or may have an interest in the outcome of this action –

 including subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded companies

 that own 10% or more of a party’s stock, and all other identifiable legal entities related to any party

 in the case:

              Defendant, Healthcare Revenue Recovery           Defendant
              Group, LLC

              Ernest H. Kohlmyer, III, Esquire                 Counsel for Defendant
Case 0:21-cv-61428-RKA Document 5 Entered on FLSD Docket 07/19/2021 Page 2 of 3




             Shepard, Smith, Kohlmyer & Hand, P.A.            Counsel for Defendant

             Virginia Ayala                                   Plaintiff

             Jibrael S. Hindi, Esquire                        Counsel for Plaintiff

             Thomas J. Patti, Esquire                         Counsel for Plaintiff

             The Law Offices of Jibrael S. Hindi              Counsel for Plaintiff

 2.     The name of every other entity whose publicly-traded stock, equity, or debt may be

 substantially affected by the outcome of the proceedings:

        ARS Account Resolution Services.

        3.        The name of every other entity which is likely to be an active participant in the

 proceedings, including the debtor and members of the creditors committee (or twenty largest

 unsecured creditors) in bankruptcy cases:

        None known.

        4.        The name of each victim (individual or corporate) or civil and criminal conduct

 alleged to be wrongful, including every person who may be entitled to restitution:

        The plaintiff is alleged to be a victim of wrongful civil conduct.

        5.        I hereby certify that, I am unaware of any actual or potential conflict of interest

 involving the district judge and magistrate judge assigned to this case, and will immediately notify

 the Court in writing on learning of any such conflict.

        Dated this 19th day of July 2021.

                                                   Respectfully submitted,

                                                    /s/ Ernest H. Kohlmyer, III
                                                    Ernest H. Kohlmyer, III




                                                   2
Case 0:21-cv-61428-RKA Document 5 Entered on FLSD Docket 07/19/2021 Page 3 of 3




                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a copy of the foregoing has been electronically filed on July

 19, 2021, via the Clerk of Court’s CM/ECF system. I further certify that the foregoing has been

 sent via electronic transmission to the following: Jibrael S. Hindi, Esquire                 at

 jibrael@jibraellaw.com and Thomas J. Patti, Esquire at tom@ jibraellaw.com (Attorneys for

 Plaintiff).



                                                    /s/ Ernest H. Kohlmyer, III
                                                    Ernest H. Kohlmyer, III
                                                    Florida Bar No.: 110108
                                                    SKohlmyer@shepardfirm.com
                                                    service@shepardfirm.com
                                                    Shepard, Smith, Kohlmyer & Hand, P.A.
                                                    2300 Maitland Center Parkway, Suite 100
                                                    Maitland, Florida 32751
                                                    Phone: (407) 622-1772
                                                    Fax: (407) 622-1884
                                                    Attorneys for Defendant, Healthcare
                                                    Revenue Recovery Group, LLC




                                               3
